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                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA


 FLORIDA GAS TRANSMISSION CIVIL ACTION
 COMPANY, LLC

 VERSUS

 8.22 ACRES, MOEE OR LESS,
 SITUATED IN IBERVILLE PARISH,
 LOUISIANA, ET AL. NO. 24-00122-BAJ-RLB

                       AMENDED SCHEDULING ORDER

      As discussed at the February 24, 2024 Telephone Status Conference,


      IT IS ORDERED that the following Scheduling Order (Doc. 9) shall govern

the parties briefing of this matter:

          1. Deadline for Defendants to respond to Plaintiffs JVIotion to Confirm.

             Condemnation of Servitudes and for Preliminary Injunction (Doc. 3):

             March 11, 2024.


                a. Deadline for Plaintiff to file responsive briefing, if necessary:

                    April 1, 2024.

          2. Deadline for Defendants to respond to Plaintiffs Notice of

             Condemnation (Doc. 12): M:arch 14. 2024.

                a. Deadline for Plaintiff to file responsive briefing, if necessary:


                    March 28. 2024.


          3. Hearing on Plaintiffs Motion (Doc. 3): May 15, 2024, at 9:30 A.M. in

             Courtroom 2.
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      The deadlines set forth in this Order shall not be modified except by leave of

court upon a showing of good cause. Joint, agreed, or unopposed motions to extend


scheduling order deadlines will not be granted automatically. All motions to extend


scheduling order deadlines must be supported by facts sufficient to find good cause


as required by Federal Rule of Civil Procedure 16. Further, a motion to extend any


deadline set by this Order must be filed before its expiration.

      The parties may contact the Chambers of the Hon. Richard L. Bourgeois, U.S.


Magistrate Judge, at (225) 389-3602 should they wish to schedule a settlement

conference.


                                                             .A
                              Baton Rouge, Louisiana, this^-SJUay of February, 2024




                                                       CL.
                                        JUDGE BRIAN A.AJAlCKSON
                                        UNITED STATES WSTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA
